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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                                 MDL NO. 2924
   PRODUCTS LIABILITY                                                                           20-MD-2924
   LITIGATION
                                                                   JUDGE ROBIN L. ROSENBERG
                                                          MAGISTRATE JUDGE BRUCE E. REINHART

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   THIS DOCUMENT RELATES TO: ALL CASES

                                       PRETRIAL ORDER # 23
                Order Modifying Census Plus Deadlines (set forth in PTO # 15 and PTO # 20)

           The Court hereby clarifies and modifies the deadlines for submission of Census Plus Forms, as set

   forth in Pretrial Order # 15 at page 9 (paragraph 4) and pages 10-11 (paragraph 3), and Pretrial Order # 20

   at page 17, as follows:

           1.       Filed Plaintiffs. For any Plaintiff whose case is filed on or before May 31, 2020 (whether

   filed in the MDL or transferred or removed to the MDL), the Plaintiff must file his/her Census Plus Form

   no later than July 21, 2020. For any Plaintiff whose case is filed on or after June 1, 2020,

   the Census Plus Form shall be due 60 days from the date of such filing.

           2.       Unfiled Claimants/Registry Participants. Any individual who retains counsel on or before

   June 30, 2020, and seeks to participate voluntarily in the Registry as a claimant must file his/her Census

   Plus Form no later than August 17, 2020. For any individual who retains counsel on or after July 1, 2020,

   the Census Plus Form shall be due either 30 days from the end of the calendar-year quarter in which he/she

   retained counsel, or 45 days from the date of retention, whichever is later.

           3.       All other provisions of Pretrial Orders # 15 and # 20 remain in full force and effect.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 27th day of May, 2020.




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                                                              ROBIN L. ROSENBERG
                                                              UNITED STATES DISTRICT JUDGE
